 Case 3:95-cr-00232-TJM                Document 1983             Filed 11/29/05          Page 1 of 19




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

CRAIG SWEAT,

                                    Petitioner,                  05-CV-221
                                                                (95-CR-232)
                 v.


UNITED STATES OF AMERICA,

                        Respondent.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                                             DECISION & ORDER

I. INTRODUCTION

       Craig Sweat (hereinafter “Petitioner”) has filed the instant motion pursuant to 28 U.S.C. §

2255 challenging his criminal conviction and sentence. For the reasons that follow, the motion is

denied and his petition dismissed.

II. BACKGROUND

       On June 26, 1995, Petitioner and approximately forty other people were indicted for various

narcotics, weapons, and conspiracy charges arising out of their participation in what has been

referred to as the Joyner Organization. See United States v. Joyner, 201 F.3d 61, 66-68 (2d Cir.

2000)(“Joyner I”).1 Petitioner was charged with conspiracy to distribute cocaine, in violation of 21


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           The facts presented in the trials before the Court established that the Joyner Organization (hereinafter
                                                                                                          (continued...)

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 Case 3:95-cr-00232-TJM                 Document 1983             Filed 11/29/05          Page 2 of 19




U.S.C. § 846, and engaging in a continued criminal enterprise (“CCE”), in violation of 21 U.S.C. §

848. Petitioner was tried with six co-defendants in an eight week jury trial from April 2, 1996 to

June 4, 1996. At the conclusion of the trial, the jury was unable to reach a verdict as to Petitioner or

co-defendant Michael Barrett. A retrial was then held from November 25, 1996 until December 12,

1996, resulting in Petitioner’s conviction on all counts. On appeal, the Second Circuit Court of

Appeals affirmed Petitioner’s CCE conviction but vacated the drug conspiracy charge. See id. at 67

(citing Rutledge v. United States, 517 U.S. 292 (1996)(holding that a drug conspiracy is a lesser

included offense of a CCE)). Additional appellate arguments were considered and rejected in a

separate opinion that denied defendants’ petition for reargument before the Second Circuit. See

United States v. Joyner, 313 F.3d 40, 46-48 (2d Cir. 2002)(“Joyner II”). Petitioner’s petition for a

writ of certiorari to the United States Supreme Court was denied on February 23, 2004. Barrett v.

U.S., 540 U.S. 1201 (2004).

         Petitioner’s co-defendant in the criminal trial, Michael Barrett, attempted to file a “joint”

Section 2255 petition on behalf of himself and Sweat in June of 2004, and/or to “consolidate” the


         1
             (...continued)
“Org anization”) w as initially form ed in 1 989 by Archie Jo yner and sold narco tics at several bars and strip club s in
Bing hamton, N ew Y ork. Joyner, the ringleader and subsequently-turned -government witness, would pay peop le within
the org anization to m ule cocaine from his contacts in New Y ork C ity to the B ingham ton are a, and the cocaine would
then be sold by other associates within the organization at various bars. The organization initially began selling drugs at
several local ba rs in Bingham ton including the Sail Inn, Begies and Kennedy’s Corners. As business grew , however, so
did the territory the organization sought to cover, and soon they were selling drugs at other bars in Binghamton
including Am p, Sheions and C hoice s.

          Petitioner did not become an active member of the organization until 1994. Prior to this time, Petitioner served
as the lieutenant to co-defendant M ichael Barrett. Barrett op erated another gang in the B ingham ton are a that also sold
drugs within the same territory as the Organization. Frequently, the Organization and Barrett’s crew would clash over
drug custom ers and territory, which in turn upse t “business” by attracting additional po lice attentio n. In an effort to
relieve some of the tension b etween the various group s and impro ve profits, Ba rrett agreed to join the Organization in
or about February 1994. Soon thereafter, in April 1994, Barrett and Petitioner began selling drugs in Choices, one of
Joyner’s bars that Barrett ran. Sweat, and another government witness, Shatima Turner, would sell cocaine, and in some
instance s also transpo rt shipm ents from New York C ity to Bingham ton.

                                                             2
 Case 3:95-cr-00232-TJM                 Document 1983          Filed 11/29/05          Page 3 of 19




two petitions. See Barrett v. United States, 3:04-CV-848, dkt. #s 2-4; Sweat v. United States, 3:04-

CV-849, dkt. # 1 (Petition filed by Barrett on behalf of himself and Sweat). The motion to

consolidate the two actions was denied by the Court. Id. dkt. # 9. Because Sweat had not signed any

of the documents submitted on his original Section 2255 motion, and because a pro se litigant

cannot represent another pro se litigant, Petitioner’s original Section 2255 motion was dismissed

without prejudice to renewal. See Sweat v. United States, 3:04-CV-849, dkt. # 9. Petitioner

subsequently filed the instant Section 2255 motion challenging his conviction and sentence on a

number of grounds as discussed more fully below.

III. DISCUSSION

       A. Denial of Due Process - Brady Violation

       Petitioner’s first argument is that he was denied due process because the Government

committed a Brady violation during his prosecution by failing to advise him that one of its

witnesses, Shatima Turner, had been involved in other criminal activity in 1996. Pet. Mem. L. pp. 4-

10; see Brady v. Maryland, 373 U.S. 83 (1963). This precise issue was addressed and rejected by

this court on a Rule 33 motion, see March 11, 1998 Mem. Dec. & Ord., dkt. # 1693 in 95-cr-232

(attached as dkt. # 4-3 in the instant case), and by the Second Circuit on Petitioner’s direct appeal.

Joyner I, 201 F.3d at 82.2 It is well settled that a § 2255 petition cannot be used to "relitigate


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           In this regard, the Second Circuit wrote:

       In May 1997, five months after Barrett and Sweat's second trial, Shatima Turner--the government's key
       witness at Barrett and Sweat's retrial--was indicted on federal drug trafficking charges. Barrett and
       Sweat filed a motion for a new trial on the ground that the government had suppressed the evidence of
       her 1996 drug crime. The court denied the motion for a new trial, finding that the prosecutor did not
       know of Turner's drug crim e during the retrial and that he disclosed wha t evidence he had p rior to
       trial. On appeal, Barrett and Sweat again claimed that, at the time of their retrial, the government
       must have kno wn that Turn er was the target of an ongoing investigation and that its failure to disclose
                                                                                                        (continued...)

                                                          3
 Case 3:95-cr-00232-TJM                 Document 1983              Filed 11/29/05          Page 4 of 19




questions which were raised and considered on direct appeal." United States v. Sanin, 252 F.3d 79,

83 (2d Cir. 2001)(quoting Cabrera v. United States, 972 F.2d 23, 25 (2d Cir. 1992)); see United

States v. Perez, 129 F.3d 255, 260 (2d Cir. 1997)("A § 2255 motion may not relitigate issues that

were raised and considered on direct appeal."). "Reconsideration is permitted only where there has

been an intervening change in the law and the new law would have exonerated a defendant had it

been in force before the conviction was affirmed on direct appeal." Chin v. United States, 622 F.2d

1090, 1092 (2d Cir. 1980). Furthermore, new intervening law must "break new ground" or bring

with it a "new obligation on the States or Federal Government." Sanin, 252 F.3d at 84 (quoting

Teague v. Lane, 489 U.S. 288, 300 (1989)). “If a petitioner raises an issue that was addressed on

direct appeal, the Court may find it procedurally barred in a subsequent Section 2255 motion.”

Graff, 269 F. Supp.2d at 78 (citing Sanin, 252 F.3d at 83).

         Since there has been no intervening change in applicable law, Petitioner attempts to sidestep

the obvious procedural bar to this claim by arguing that he has obtained “new evidence” that a due

process violation occurred. He argues that this “new evidence” was unavailable at the time of the

appeal and, therefore, the claim is not procedurally barred. In this regard, he presents an affidavit

from Shatima Turner that asserts, inter alia, that during a proffer session with the prosecution in the

Joyner case she was “warned by one of the agents that an investigation revealed that [she] was

continuing [her] criminal activity and that [she] should stay out of trouble.” Turner Aff. ¶ 12.

Petitioner also submits an affidavit from another convicted drug dealer, Junior Frederick. Frederick

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             (...continued)
         this informa tio n con stitutes reversib le error. How ever, we see no such error. The prosecutor's
         affid avit stated that he did not know o f Turner's 19 96 drug crime at the time of Barrett and Sweat's
         retrial, and the court was entitled to credit that affidavit.

Joyner I, 201 F.3d at 82.

                                                              4
 Case 3:95-cr-00232-TJM           Document 1983          Filed 11/29/05      Page 5 of 19




was charged (and convicted) in an indictment filed in 1997, 97-cr-146, with distribution of cocaine

and conspiracy to possess with intent to distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1)

and 846. One of Frederick’s co-defendants was Shatima Turner. In Frederick’s affidavit (which

was actually submitted in Michael Barrett’s Section 2255 action), Frederick asserts that he believes

that the prosecutor in Petitioner’s case knew that Turner was involved in drug activities in the

summer of 1996 because: (1) Frederick was supposedly told by the prosecutor during plea

negotiations that “110 Clinton street was under surveillance during the summer of 1996;” and, (2)

his plea agreement references a drug conspiracy with, inter alia, Shatima Turner, that began in “the

summer of 1996.” The Government has asserted that it disclosed what it knew about Shatima

Turner at the time of Petitioner’s trial, and that Turner’s allegations are false.

       “[A] Section 2255 motion is not a substitute for direct appeal.” Graff v. United States, 269 F.

Supp.2d 76, 78 (E.D.N.Y. 2003)(citing United States v. Frady, 456 U.S. 152, 165 (1982); United

States v. Munoz, 143 F.3d 632, 637 (2d Cir. 1998)). Accordingly, "Section 2255 claims not raised

on direct review are procedurally barred unless they raise constitutional or jurisdictional claims, or

result in a 'complete miscarriage of justice.'" Johnson v. United States, 313 F.3d 815, 817 (2d Cir.

2002)(quoting Graziano v. United States, 83 F.3d 587, 590 (2d Cir. 1996)). “Where a criminal

defendant has procedurally forfeited his claim by failing to raise it on direct review, the claim may

be raised in a § 2255 motion only if the defendant can demonstrate either: (1) cause for failing to

raise the issue, and prejudice resulting therefrom; or (2) actual innocence.” Rosario v. United States,

164 F.3d 729, 732 (2d Cir. 1998)(citing Douglas v. United States, 13 F.3d 43, 46 (2d Cir. 1993));

see Arroyo v. United States, 2002 WL 662892, at * 2 (S.D.N.Y. April 22, 2002)(same)(citing Amiel




                                                    5
 Case 3:95-cr-00232-TJM                 Document 1983             Filed 11/29/05         Page 6 of 19




v. United States, 209 F.3d 195, 198 (2d Cir. 2000)).3

         To demonstrate cause, a petitioner must be able to show that the factual basis for a claim

was not reasonably available, despite the exercise of reasonable diligence. United States v.

Helmsley, 985 F.2d 1202, 1205-08 (2d Cir. 1993). The "cause" must be "something external to the

petitioner, something that cannot fairly be attributed to him ....," Coleman v. Thompson, 501 U.S.

722, 753 (1991)(emphasis in original), and something that would have changed the outcome of the

proceeding. See Beras v. U.S., 2005 WL 2660397 (2d Cir. 2005)(unreported)(Petitioner “bears the

burden of demonstrating that the evidence is genuinely "’new,’" i.e., that it was "’discovered after

trial’" and "’could not, with the exercise of due diligence, have been discovered sooner’" and that

the evidence "’is so material that it would probably produce a different verdict.’")(quoting United

States v. Slutsky, 514 F.2d 1222, 1225 (2d Cir. 1975)).

         Assuming, arguendo, that Petitioner presents a new claim from that addressed and rejected

on appeal,4 he fails to establish cause for not raising it on direct appeal. Indeed, between

Petitioner’s first and second trial, the Government disclosed what information it had regarding


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          This rule do es not apply to claims of ineffective assistance of counsel. Massaro v. United States, 123 S. Ct.
1690, 1696 (2003)(A Section 2255 ineffective assistance of counsel claim is not barred even if not raised on direct
app eal).

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           This is a dubious position in this case. As discussed in the text, Petitioner has presented this argument before
and it has been rejected each time. His “new evidence” is merely a feeble attempt to blow life in the losing claim using
unsubstantiated conclusions and surmise. The affidavits of Shatima Turner and Junior Frederick, even if true, do not
establish that the Government had information about Shatima Turner’s drug dealings in November of 199 6 when the
case went to trial a second time. This is because there is a difference between suspecting that someone is selling drugs
on a certain date, and learning later, through information obtained via an investigation, that the person was selling drugs
on an earlier certain date. While the Government (or one of its agents) might have suspected, in the summer of 1996,
that Turner was selling drugs, it might not have gained reliable information to that effect until the subsequent
investigation began to unfold. Like many criminal investigations, Government investigators proceed on hunches that are
sometimes later verified by additional evidence, such as testimony from cooperating witness who provide details about
past activities. As explained by the Court in its March 11, 1998 Memorandum Decision & Order on Petitioner’s Rule 33
motion, Government agents had an unconfirmed hunch about Turner’s activities in 1996 (which they disclosed to the
defense), but did not obtain reliable information about such activities until after the trial was concluded.

                                                             6
 Case 3:95-cr-00232-TJM          Document 1983         Filed 11/29/05      Page 7 of 19




Turner’s drug activities up to that date. See November 26, 1996 Trans., pp. 40-47 (discussing what

use, if any, defendants could make of this information at trial). In addition, in support of

Petitioner’s originally filed Section 2255 motion, he submitted an affidavit from Shatima Turner’s

mother, Yolanda Turner, dated March 29, 2000. Yolanda Turner attested that, at the time of the trial,

the Assistant United States Attorney prosecuting the case for the Government “did in fact know that

my daughter Shatima Turner was involved in additional activity and she told me herself that [the

prosecuting attorney] warned her about such conduct.” Yolanda Turner Aff. ¶ 3 [dkt. # 7 in Sweat

v. United States, 3:04-CV-849]. Putting aside the question of whether the information, if true,

would support a Brady violation, it is clear that Petitioner possessed this information - or could have

learned of it through reasonable diligence - before his direct appeal was exhausted. See Joyner II,

313 F.3d 40 (2d Cir. 2002).

       The same could be said for the information from Junior Frederick. Assuming that

Frederick’s conclusion had some evidentiary impact, see fn. 4, supra, Petitioner could have easily

obtained the information in 1997 when his plea was entered. The plea agreement was, and is still is,

a public document, and the conclusions Frederick draws are based entirely upon information

available long before Petitioner’s appeal was exhausted. Accordingly, Petitioner fails to establish

cause for failing to present the claim on direct review.

       Further, Petitioner fails to establish his actual innocence of the crime of conviction. In order

to establish “actual innocence," a movant must “demonstrate that, in light of all the evidence, it is

more likely than not that no reasonable juror would have convicted him." Bousley v. United States,

523 U.S. 614, 623 (1998). Actual innocence means "factual innocence, not mere legal

insufficiency." Id. “The Supreme Court in Bousley also made clear that when a habeas petitioner is


                                                   7
 Case 3:95-cr-00232-TJM                 Document 1983             Filed 11/29/05          Page 8 of 19




required to meet the ‘actual innocence’ standard, he must satisfy a higher hurdle than the ‘prejudice’

prong of the cause and prejudice standard.” De Jesus v. United States, 161 F.3d 99, 103 (2d Cir.

1998).

         Petitioner has not directly asserted his factual innocence, but instead asserts a claim of legal

insufficiency. A claim of legal insufficiency will not serve to excuse a procedural default. Freeman

v. United States, 2005 WL 1498289, at * 4 (E.D.N.Y. June 17, 2005)(citing Bousley, 523 U.S. at

622). Further, having presided over the trial and having had the opportunity to hear the wealth of

evidence presented against Petitioner, the Court finds no merit to any contention that Petitioner is

actually innocent of the crime of conviction. See United States v. Sapia, 2002 WL 620483, at *4

(S.D.N.Y. April 18, 2002).5 Over twenty witnesses were called on the government’s case-in-chief,

including Joyner, and Petitioner’s guilt was well established.6 Consequently, the claim, even if

“new,” is procedurally barred.

         Finally, and assuming arguendo that the claim is not procedurally forfeited, it fails on the

merits. “[T]he Government's failure to disclose evidence that is materially favorable to the defense

violates due process.” United States v. Rivas, 377 F.3d 195, 199 (2d Cir. 2004)(citing Brady, 373

U.S. at 87). To violate Brady, “[t]he evidence at issue must be favorable to the accused, either



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           In deciding a Section 22 55 p etition without a hearing, “a district court m ay rely on its own fam iliarity with
the case and deny the 2255 motion where the motion lacks ‘meritorious allegations that can be established by competent
evidence.’" United States v. Sapia, 2002 WL 620483 at *4 (quoting Stokes v. United States, 200 1 W L 29 997 , at *2
(S.D.N.Y. Jan. 9, 2001 )).

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            The government called a total of twenty-three witnesses during petitioner’s second trial. In the order they
appeared, the government called: (1) Edwin Ramos; (2) William Little; (3) Archie Joyner; (4) Clarence D. Brown; (6)
Philip Kane; (7) Tracey Corson; (8) Bridget W illiams; (9) Michael Youm ans; (10) Gordon G reene; (11) Richard
Edward s; (12) Collin Jone s; (13) Kevin M ickens; (14) Helena M cFarlane; (1 5) Iashia Duncan; (16) Craig Tw onb ley;
(17) Julie Gofkowski; (18) Yolanda Turner; (19) Shatima Turner; (20) Joseph Ashman; (21) Joseph Burke; and (23)
Tracy Smith.

                                                             8
 Case 3:95-cr-00232-TJM          Document 1983         Filed 11/29/05       Page 9 of 19




because it is exculpatory, or because it is impeaching; that evidence must have been suppressed by

the State, either willfully or inadvertently; and prejudice must have ensued.” Strickler v. Greene,

527 U.S. 263, 281-82 (1999). “Impeachment evidence is evidence ‘having the potential to alter the

jury's assessment of the credibility of a significant prosecution witness.’” Rivas, 377 F.3d at 199

(quoting United States v. Avellino, 136 F.3d 249, 255 (2d Cir.1998)). To be material in the Brady

analysis, the nondisclosure of the evidence must create “a reasonable likelihood that disclosure of

the evidence would have affected the outcome of the case (citing United States v. Bagley, 473 U.S.

667, 682 (1985)), or would have put the case in such a different light as to undermine confidence in

the outcome.” Rivas, 377 F.3d at 199 (citing Kyles v. Whitley, 514 U.S. 419, 434-35 (1995)).

       Here, although Shatima Turner was a key witness against Petitioner, she was also cross-

examined about her veracity and prior perjurious statements, see Joyner I, 201 F.3d at 82, and, as

explained above, was but one of a bevy of witness who offered testimony against the Petitioner.

Like in the case of United States v. Wong, 78 F.3d 73 (2d Cir. 1996), “defense counsel had

sufficient ammunition concerning [the witness’] mendacity, interest, and bias as to justify the . . .

conclusion that the undisclosed impeachment evidence ... was cumulative.” Id. at 80. Thus, the

purported undisclosed Brady impeachment material “is the sort of cumulative impeachment material

that is routinely held insufficient to warrant a new trial because it does not undermine the

confidence in the verdict.” Id. at 82 (interior quotation marks and citations omitted). The claim

premised upon a purported Brady violation is, therefore, dismissed.

       B. Perjured Testimony by Shatima Turner

       Petitioner next argues that his conviction should be vacated because the Government

knowingly used perjured testimony from Shatima Turner. In this regard, Petitioner points to Ms.


                                                   9
Case 3:95-cr-00232-TJM                   Document 1983             Filed 11/29/05           Page 10 of 19




Turner’s affidavit and argues that she lied on the witness stand when she testified: (1) that Petitioner

had a gun on one occasion; (2) that the Government had not promised her any particular sentence

for her testimony at trial; (3) that Petitioner, “along with others, utilized Ms. Vera Jeffrey’s

apartment in New York as a cutting mill;” (4) that her telephone conversations with Petitioner “were

related to drug activity;” and (5) “that the drugs Anthony Danes (Haney) was arrested with were

given to him by Mr. Sweat.” The Court will address these allegations seriatim.

         The allegation of Turner’s perjury regarding Petitioner’s possession of a gun was addressed

and rejected on appeal as a basis for upsetting the instant conviction. See Joyner I, 201 F.3d at 82.7

That claim is both procedurally barred and without substantive merit.

         With regard to the purported perjury related to a Government promise for a specific

sentence, Turner’s affidavit does not bear out this allegation. Turner asserts in her affidavit that she

“agreed to testify against Mr. Sweat because [she] was promised leniency and the opportunity to

keep [her] child.” S. Turner Aff. ¶ 9. Petitioner asserts that this establishes that Turner lied when

she was asked by the prosecutor at trial whether she had “been promised any sentence” and she

replied “no.” Pet. Mem. L. p. 13 (citation to trial trans. omitted). Assuming the truth of the


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             In this regard the Second Circuit held:

         Barrett and Sweat next argue that it must have been evident to the government that Turner perjured
         herself during the second trial. We disagree. Turner's testimony at the first trial that she did not see
         Barrett with a gun after Gillespie came to Choice's was not inconsistent with her testimony at the
         retrial that Barrett had a gun on the date that Gillespie came to the bar. In any event, Turner
         explained on cross-examination that her failure at the first trial to mention that Barrett had a gun was
         due to her nervousness at the first trial--a not implausible explanation. Even if her testimony was
         perjurious, however, cross-examina tion and jury instructions regarding witness credibility will
         norm ally purge the taint o f false testimo ny. See United States v. Blair, 958 F.2d 26, 2 9 (2d Cir. 199 2).
         Here, Barrett fully cross-examined Turner about her allegedly perjurious statements, and the district
         court charged the jury on witness credib ility, prior inconsisten t statements, and on the jury's right to
         disregard false testimo ny. He r testimony did not, therefore, taint the trial.

Joyner I, 201 F.3d at 82.

                                                              10
Case 3:95-cr-00232-TJM                 Document 1983             Filed 11/29/05         Page 11 of 19




affidavit, perjury at trial is not established. It was well known that on March 18, 1996, Turner pled

guilty to certain crimes pursuant to a plea agreement. See dkt. entry # 674 in United States v. Joyner,

95-cr-232 (N.D.N.Y.). Certainly, Turner’s decision to plead guilty and cooperate with the

Government was made so that she could obtain leniency and, possibly, avoid a lengthy prison

sentence that would have prevented her from being with her child. There is no indication - in the

affidavit or otherwise - that she was promised any particular sentence by the Government, nor could

the Government have made such a promise under the conditions of Turner’s plea. The claim in this

regard fails on the merits.

         Assuming, arguendo, that Turner committed perjury at trial in the other referenced respects

(i.e. on testimony related to interactions with co-conspirators), Petitioner has failed to demonstrate

cause for failing to present this “new evidence” on direct appeal. There is no explanation why

Turner’s current claims could not have been explored and her lies exposed while the case was on

direct appeal. Therefore, the claim is procedurally barred.

         Further, Petitioner has failed to establish that the Government was aware of the perjury

regarding her interactions with other co-conspirators, or that the nature of the perjury would have

changed the outcome of the case. See United States v. Wallach, 935 F.2d 445, 456 (2d Cir. 1991);8




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            In W allach, the Court of Appeals stated "[w]hether the introduction of perjured testimony requires a new trial
depends on the materiality of the perjury to the jury's verdict and the extent to which the prosecution was aware of the
perjury" at the time o f trial. W allach, 935 F.2d at 456 If the defendant demonstrates that the prosecution knew or
should have known of the perjury, then the court will set aside the conviction "if there is any reasonable likelihood that
the false testimony could have affected the judgment of the jury." Id. (citation omitted ). If, however, the government is
not shown to have been aware of the perjury, a new trial is warranted only if (1) the testimony was material, and (2) " the
court [is left] with a firm belief that but for the perjured testimony, the defendant would most likely not have been
convicted." Id. (citation omitted).

                                                            11
Case 3:95-cr-00232-TJM                  Document 1983            Filed 11/29/05          Page 12 of 19




Freeman, 2005 WL 1498289, at *4;9 see also Ortega v. Duncan, 333 F.3d 102, 108 (2d Cir.

2003)(Generally, in order to challenge a conviction on the basis of perjured testimony, a petitioner

must show that "the testimony was material and ... but for the perjured testimony, the defendant

would most likely not have been convicted."). Other than purely conclusory allegations, Petitioner

provides no basis to conclude that the Government was, or should have been, aware that Shatima

Turner committed perjury at trial (if, in fact, she did) in these respects. See Ortega, 333 F.3d at 107

(The Second Circuit has long been of the view that a recantation of testimony must be "looked upon

with the utmost suspicion.")(citations omitted). Indeed, as discussed on Michael Barrett’s Section

2255 motion, Ms. Turner purportedly lied because she had a romantic interest in Barrett and felt

“scorned” when Mr. Barrett rebuked her affections. See Barrett v. United States, 2005 WL 1520849,

at *6 (N.D.N.Y. June 27, 2005).10 However, there is no evidence that anyone was aware of these

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             In Freeman, the Eastern District explained

         A Section 2255 motion is not a vehicle for rearguing the credibility of witnesses." Conteh v. United
         States, 226 F.Supp.2d 514, 519-20 (S.D.N.Y. 2002). Moreover, "a showing of perjury at trial does not
         in itself establish a violation of due process warranting habeas relief." Ortega v. Duncan, 333 F.3d
         102 , 108 (2d Cir. 20 03). Petition er has not pro vided any evidence that the government knew about the
         alleged perjury (if, indeed, the testimony was perjured). W here there is no showing that the
         government knew about the alleged perjury, "a new trial is warranted only if (1) the testimony was
         material, and (2) the court is left with a firm belief that but for the perjured testimony, the defendant
         would most likely not have been convicted." Conteh, 226 F. Supp .2d at 519-20 (internal citations and
         quotations omitted).

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           Barrett raised the perjury of Ms. Turner in the context of an ineffective assistance of counsel argument. In
addressing that argument, this Court wrote:

         Petitioner also impliedly asserts that counsel was constitutionally ineffective for failing to ferret out
         that Shatima Turner testified falsely because she felt she had been romantically rebuked by Petitioner.
         In this regard, T urner asserts in an affidavit that "[t]he testimony I gave con cerning M r. Barrett
         conformed to what I felt the government wanted to hear." S. Turner Aff. ¶ 4. Turner attests that she
         testified as d id because she had "feelings" for Petitioner and felt "doubly sco rned" whe n he "left
         'Choices' to open a re staurant owned by his wife." Turne r Aff. She contend s that because o f these
         feelings, she "tried to harm Mr. Barrett in any way, and the trial gave me the op portunity to do so."
         More spec ifically, Turne r avers that she lied on the witness stand when she testified (1) that "M s.
         Gloria" was a courier for Petitioner on occasion, (2) that Jeffery's apartment was used as a "cutting
                                                                                                           (continued...)

                                                            12
Case 3:95-cr-00232-TJM               Document 1983              Filed 11/29/05          Page 13 of 19




motivations when Ms. Turner took the witness stand, and, therefore, there is no evidence that the

Government was aware that Turner was not being truthful. Id. (“First, assuming arguendo that

Turner committed perjury for the reasons asserted, there is no indication that anyone, including

counsel, was even remotely aware of these motivations at the time of trial.”). Consequently, in order

to be afforded relief on this motion, Petitioner must demonstrate that the nature of the perjury would

have changed the outcome of the case. Ortega, 333 F.3d at 108; Wallach, 935 F.2d at 456.

       However, “Petitioner cannot meet his burden of demonstrating that ‘but for the perjured

testimony, [he] would most likely not have been convicted.’" Freeman, 2005 WL 1498289, at *5

(quoting Conteh, 226 F. Supp.2d at 519-20). Assuming arguendo that Turner was lying when she

testified as she did about the gun, Jeffery’s apartment being used as a cutting mill, the nature or her

conversations with Petitioner, and the source of Anthony Danes’ drugs, there was still a wealth of

evidence upon which to convict Petitioner of the CCE count. See Joyner I, 201 F.3d at 82; Barrett,

2005 WL 1520849, at *7; March 11, 1998 Mem. Dec. & Ord. in 95-cr-232. The Court is not "left

with a firm belief that but for the perjured testimony, the defendant would most likely not have been

convicted." Freeman, 2005 WL 1498289, at * 9. Therefore, the claim based upon the purported use

of perjured testimony is dismissed.

       C. Ineffective Assistance of Counsel

       Next, Petitioner claims that his trial counsel was constitutionally ineffective because he

failed to interview and call several witnesses who would have purportedly provided exculpatory

testimony. In this regard, Petitioner alleges that counsel failed to interview and call Stephen Brown,



       10
            (...continued)
       mill," and (3) that the d rugs seized from "M r. Antho ny Da nes (H aney)" belonged to Pe titioner.

                                                           13
Case 3:95-cr-00232-TJM                 Document 1983              Filed 11/29/05          Page 14 of 19




Anthony Danes, and Kevin Rowe who would have testified that they “did not sell drugs for, nor

were their activities directed by” Petitioner. Sweat Aff., p. 3.11

         In order to state a cognizable Sixth Amendment claim for ineffective assistance of counsel,

Petitioner must prove: “(1) counsel’s conduct ‘fell below an objective standard of reasonableness,’

and (2) this incompetence caused prejudice to ...defendant.” United States v. Guevara, 277 F.3d

111, 127 (2d Cir. 2001)(quoting Strickland v. Washington, 466 U.S. 668, 687-88 (1984)). In

analyzing the first prong of Strickland, the Court “must indulge in a strong presumption that

counsel’s conduct falls within the wide range of reasonable professional assistance.” Strickland, 466

U.S. at 689. Given this presumption, "the burden rests on the accused to demonstrate a

constitutional violation." United States v. Cronic, 466 U.S. 648, 658 (1984). The standard is one of

objective reasonableness, and “[t]he first prong of the Strickland test is not satisfied merely by

showing that counsel employed poor strategy or made a wrong decision. Instead, it must be shown

that counsel ‘made errors so serious that counsel was not functioning as the 'counsel' guaranteed ...

by the Sixth Amendment.’" Jackson v. Moscicki, 2000 WL 511642, at * 7 (S.D.N.Y. April 27,

2000)(quoting Strickland, 466 U.S. at 687); see Kimmelman v. Morrison, 477 U.S. 365, 381

(1985)(Petitioner bears the burden of proving "that counsel's representation was unreasonable under

prevailing professional norms and that the challenged action was not sound strategy.")(citing

Strickland, 466 U.S. at 688-89). Furthermore, the Court must evaluate counsel’s performance from

his perspective at the time of the alleged errors and in the same circumstances. Garcia v. United

States, 15 F. Supp.2d 367, 379 (S.D.N.Y. 1998)(citing Strickland, 466 U.S. at 689).


         11
            Mr. Bro wn sub mitted an affidavit in this case indicating, inter alia, that although he was involved in criminal
drug activities, he did not sell drugs for Mr. Sweat. Although Mr. D anes and M r. Rowe did not submit affidavits for Mr.
Sweat, they submitted similar affidavits for Sweat’s co-defendant- Michael Barrett - in Barrett’s Section 2255 case.

                                                             14
Case 3:95-cr-00232-TJM           Document 1983          Filed 11/29/05     Page 15 of 19




       To satisfy the second prong of Strickland, Petitioner “must show that there is a reasonable

probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different.” Strickland, 466 U.S. at 694. “A reasonable probability is a probability sufficient to

undermine confidence in the outcome.” Id. at 694.

       “Habeas claims based on complaints of uncalled witnesses are not favored, because the

presentation of testimonial evidence is a matter of trial strategy and because allegations of what a

witness would have testified [to] are largely speculative.’" Lou v. Mantello, 2001 WL 1152817, at

*10 (E.D.N.Y. Sept. 25, 2001)(interior quotation and citation omitted). Much of what these

witnesses supposedly would have testified to is based upon nothing more than pure speculation by

Petitioner. Such speculation is insufficient on this motion. See United States v. Vargas, 920 F.2d

167, 170 (2d Cir. 1990)(petitioner's affidavit making allegations in a "conclusory fashion" failed to

demonstrate that counsel's decision not to call a witness was unreasonable), cert. denied, 502 U.S.

826 (1991); Muhammad v. Bennett, 1998 WL 214884, at *1 (S.D.N.Y. Apr. 29, 1998)("petitioner's

speculative claim about the testimony of an uncalled witness" is insufficient to show ineffective

assistance of trial counsel); Angel v. Garvin, 2001 WL 327150, at *8 (S.D.N.Y. April 3,

2001)(recognizing that a habeas petition may be denied when the allegations are speculative or

conclusory).

       Assuming these witnesses could have been located at the time and testified in the manner

that Petitioner asserts, Petitioner’s claim nevertheless fails under both prongs of the Strickland test.

An attorney's decision "whether to call specific witnesses--even ones that might offer exculpatory

evidence--is ordinarily not viewed as a lapse in professional representation." United States v. Best,

219 F.3d 192, 201 (2d Cir. 2000); see also United States v. Schmidt, 105 F.3d 82, 83 (2d Cir.


                                                   15
Case 3:95-cr-00232-TJM           Document 1983          Filed 11/29/05     Page 16 of 19




1997)(The decision of whether or not to call a particular witness is a matter of trial strategy which

the courts will generally not second guess.); United States v. Nersesian, 824 F.2d 1294, 1321 (2d

Cir.)("The decision whether to call any witnesses on behalf of the defendant, and if so which

witnesses to call, is a tactical decision of the sort engaged in by defense attorneys in almost every

trial."), cert denied 484 U.S. 958 (1987); United States v. Smith, 198 F.3d 377, 386 (2d Cir. 1999).

There could have been any number of strategic reasons for not calling these witnesses, including,

but not limited to, that the witnesses might have offered information that was more damaging than

helpful to the defense. For instance, both Brown and Danes admitted selling drugs but merely assert

that they did not do so for Petitioner or for co-defendant Barrett. Rowe also has been involved in

drug activities at the juice bar where Petitioner operated. See Barrett’s Traverse, dkt. # 17, p. 3

(“Each of these [people who supplied] affidavits (“C”-“F”) were named co-conspirators who, as the

government claimed[,] were supervised by Michael Barrett and sold drugs at Choices under his

agreement with Joyner.”) in 04-CV-848. An attorney representing a defendant charged with both

CCE and conspiracy drug counts might well have thought it imprudent to call witnesses, some of

whom were admitted drug dealers, especially if their sales occurred in the establishment where

Petitioner was alleged to have conducted his drug operation.

       Further, the purported testimony of these witnesses would not have necessarily exonerated

Petitioner. It merely would have amounted to testimony that the witnesses were not aware of

Petitioner’s activities in selling drugs or managing others in the sale of drugs, but it would not have

ruled out the possibility that Petitioner engaged in such activities without these witnesses knowing

about it. Counsel might well have concluded that the risk of putting these witnesses on the stand

outweighed any minimal benefit that they could have provided.


                                                   16
Case 3:95-cr-00232-TJM           Document 1983          Filed 11/29/05      Page 17 of 19




       As to the potential to impeach Shatima Turner, the record reflects that counsel did attack

Turner’s credibility on another basis during the trial, see Joyner I, 201 F.3d at 82 (quoted at fn. 7,

supra), and the concerns of opening a Pandora’s Box by putting other drug dealers on the stand to

attack her on other grounds seems to be a sound strategic decision under the circumstances,

especially in light of the strength of the government’s case (discussed infra). Indeed, the

government’s case was built around testimony from Joyner himself. See Joyner I, 201 F.3d at 65

(referring to Joyner as “the government’s key witness”).

       Further, and assuming that the witnesses would have testified as they now assert, see

Lawrence v. Armontrout, 900 F.2d 127, 130 (8th Cir. 1990)(holding that to prove prejudice from

counsel’s failure to call witnesses, a petitioner must show not only that the testimony would have

been favorable, but also that the witnesses would have voluntarily come forth to testify), Petitioner

cannot demonstrate that but for the absence of their testimony, the result of the trial would have

been different. Strickland, 466 U.S. at 694; see Slevin v. United States, 1999 WL 549010, at *5

(S.D.N.Y. 1999)(a habeas petitioner must show how counsel’s failures prejudiced the outcome of

the trial), aff’d, 234 F.3d 1263 (2d Cir. 2000). While these witnesses might have supported

Petitioner’s defense in some part, or impeached Shatima Turner’s testimony to some degree, there

was a plethora of evidence that supported his guilt. Over twenty witnesses were called on the

government’s case-in-chief, including Joyner. To now assume that the jury would have disregarded

all of this testimony and unequivocally believed Petitioner’s proffered witnesses is wholly

speculative and unsupported. Based on the record before this Court, Petitioner cannot show that, but

for testimony from these witnesses, the result of his trial would have been different. Therefore, the

claim fails under both prongs of Strickland.


                                                   17
Case 3:95-cr-00232-TJM           Document 1983          Filed 11/29/05     Page 18 of 19




       Finally, Petitioner’s generalized and vague claims of counsel’s ineffectiveness (adopting co-

defendant Barrett’s Section 2255 arguments) are insufficient to state a Strickland claim. See Slevin

v. United States, 1999 WL 549010 at *5 (S.D.N.Y. July 28, 1999)("Petitioner's conclusory

allegations that counsel evinced 'a general lack of preparation' do not demonstrate that absent the

alleged errors, the outcome of the trial would have been different. Petitioner has not elaborated on

how counsel's alleged general lack of preparation prejudiced the outcome of his trial. Accordingly,

such purported lack of preparation cannot be deemed ineffective assistance of counsel."), aff'd, 234

F.3d 1263 (2d Cir. 2000); Vasquez v. United States, 1997 WL 148812, at *1-2 (S.D.N.Y. Mar. 28,

1997)("[P]etitioner's allegations with regard to alleged counsel errors in pre-trial preparation and

investigation and trial advocacy are 'vague, conclusory, and unsupported by citation to the record,

any affidavit, or any other source,' and, accordingly, ... '[t]he vague and unsubstantiated nature of the

claims' defeated petitioner's claim of ineffective assistance of counsel...."); Sirotnikov v. United

States, 1998 WL 770557, at *4 (S.D.N.Y. Nov. 2, 1998)("Petitioner's naked assertion that his trial

counsel 'failed to adequately perform pretrial research and investigation,' does not establish

ineffective assistance of counsel."); Parnes v. United States, 1995 WL 758805, at *3 (S.D.N.Y. Dec.

21, 1995)("[V]ague allegations do not permit the Court to conclude that the alleged errors of

Petitioner's counsel fell below 'prevailing professional norms'.... Accordingly, the Court rejects

Petitioner's claim that he received ineffective assistance of counsel."); Matura v. United States, 875

F. Supp. 235, 237-38 (S.D.N.Y. 1995)(mere conclusory allegations that counsel was ineffective fails

"to establish that his counsel's performance was deficient [and] .... fails to overcome the

presumption [under Strickland] that counsel acted reasonably...."); Hartley v. Senkowski, 1992 WL

58766, at *2 (E.D.N.Y. Mar. 18, 1992)("In light of this demanding [Strickland] standard, petitioner's


                                                   18
Case 3:95-cr-00232-TJM          Document 1983          Filed 11/29/05     Page 19 of 19




vague and conclusory allegations that counsel did not prepare for trial or object to errors carry very

little weight.").

III. CONCLUSION

        For the foregoing reasons, Petitioner’s motion pursuant to 28 U.S.C. § 2255 is DENIED and

his petition is DISMISSED.



IT IS SO ORDERED

DATED:November 29,2005




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